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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY

   IN RE: AMERICAN MEDICAL               Civil Action No. 19-md-2904(MCA)(MAH)
   COLLECTION AGENCY, INC.
   CUSTOMER DATA SECURITY BREACH               ORDER GRANTING PRELIMINARY
   LITIGATION                             APPROVAL OF PROPOSED SETTLEMENT
                                                   BETWEEN PLAINITFFS AND
                                             CARECENTRIX, INC. AUTHORIZING
                                             DISSEMINATION OF NOTICE OF THE
   This Document Relates To: Oilier Labs      SETTLEIENT AND SCHEDULINC A
   Track                                  HEARINC FOR FINAL APPROVAL OF THE
                                                    PROPOSED SETTLEMENT


           XV HEREAS, this matter having come before the Court by way of Plaintiffs’ Motion for

   Preliminary Approval of Proposed Settlement Between Plaintiffs and CareCentrix, Inc.

   (‘fareCentrix”) Authorizing Dissemination of Notice of the Settlement, and Scheduling a Hearing

    for Final Approval of the Proposed Settlement (“Motion”):

           WHEREAS, on May 2, 2023 Plaintiffs, individually and on behalf of the putative

   Settlement Class (as defined below), and CareCentrix entered into a Settlement Agreement

   (“Settlement”), which, if finally approved by the Court. will result in the settlement of all claims

   asserted against the CareCentrix in the above-captioned action (“Action”): and

           WHEREAS in full and final settlement of the claims asserted against the CareCentrix,

   CareCentrix agrees to pay 56,300,000 into a common fund for: the payment of claims asserted by

   individuals for whom CareCentrix coordinated healthcare benefits and were allegedly impacted

   by the AMCA Security Incident, plus administrative expenses and Plaintiffs’ counsel fees to be

   awarded by the Court; and

           WHEREAS, Plaintiffs have moved pursuant to Rule 23(e) of the Federal Rules of Civil

   Procedure for an order preliminarily approving the Settlement Agreement, which sets forth the

   terms and conditions of the Settlement with CareCentrix;
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           WHEREAS, Plaintiffs have further moved for this Court’s: (i) provisional certification of

   the CareCentrix Settlement Class, for purposes of effectuating the Settlement only; (ii) approval

   of the manner and form of notice of the Setdement to the Settlement Class; (iii) appointment of

   Angeion, Inc. as Settlement Administrator; (iv) approval of a proposed briefing schedule for (1)

   final approval of the Settlement and proposed plan for distribution of the Settlement Fund to

   eligible Settlement Class Members and (2) Class CounsePs application for attorneys’ fees,

   reimbursement of expenses and Case Contribution Awards to Class Naintiffs; and (v) scheduling

   of a date and time for the Fairness Hearing;

           WHEREAS, Plaintiffs and CareCentrix have agreed to the entry of this Order (the

   “Order”);

           WHEREAS, all terms with initial capitalization used in this Order shall have the same

   meanings as set forth in the Sctdcmcnt Agreement, unless otherwise defined herein; and

           WHEREAS, the Court has considered the Settlement Agreement and the other documents

   submitted by the Parties in connection with Class Plaintiffs’ Motion, and good cause appearing

   therefor:
                              ‘4k   cfl—
                  IT IS THIS2D day ofMfty, 2023

           ORDERED as follows:

   I.      Preliminary Approval of the Settlement

           1.     Upon review of the record, the Court finds that the Settlement Agreement resulted

   from arm’s-length negotiations between highly experienced counsel and falls within the range of

   possible approval. Therefore, the Settlement Agreement is hereby preliminarily approved, subject

   to further consideration thereof at the Fairness Hearing described below. The Court preliminarily

   finds that the Settlement set forth in the Settlement Agreement raises no obvious reasons to doubt

   its fairness and raises a reasonable basis for presuming that it satisfies the requirements under Rule


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   23 of the Federal Rules of Civil Procedure and due process so that notice oldie Settlement should

   be given as provided in this Order.

           2.      At or after the Fairness Hearing, the Court shall determine, among other matters,

   whether the Settlement warrants final approval.

   II.     Provisional Certification of the Settlement Class

           3.      Pursuant to Rule 23 of the Federal Rules of Civil Procedure, and solely for the

   purpose of effectuating the Settlement, this Court provisionally certifies a settlement class defined

   as “all individuals for whom CarcCentrix coordinated healthcare benefits in the United States and

   whose Personally Identifiable Information (“PII’) was alleged as potentially exfiltrated between

   August 1. 2O8 through March 30. 2019 in the AMCA Security Incident.” The following entities

   and individuals are excluded from the definitions of “Settlement Class Members” or “Class

   Members”:

           a.      CareCentrix;

           b.     Any entity in which CareCentrix has a controlling interest:

           e.     Any parent or subsidiary of CareCentrix;

          d.      Any entity that is controlled by CareCentrix;

           e.     The officers, directors, affiliates, legal representatives, heirs, predecessors,
                  successors, and assigns of CareCentrix:

           f.     All judges and court personnel involved in this Action, along with their immediate
                  family members.

           The provisional certification of the Settlement Class shall he vacated if the Settlement is

   terminated or not approved by the Court.

          4.       Solely for purposes of effectuating the proposed Settlement the Court preliminarily

   finds that the prerequisites for class action certification under Rule 23 of the Federal Rules of Civil

   Procedure are satisfied as: (a) the members of the Settlement Class are so numerous that joinder


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   of afl Settlement Class Members in the Action is impracticable; (b) there are questions of law and

   fact common to the Settlement Class; (c) the claims of Class Plaintiffs arc typical of the claims of

   the Settlement Class; (d) the interests of all Settlement Class Members are adequately represented

   by Plaintiffs and Class Counsel; (e) the issues common to Settlement Class Members predominate

   over any individualized issues; and (f) a class action is superior to other available methods for the

   fair and efficient adjudication of the controversy. These preliminary findings shall be vacated if

   the Settlement is terminated or not approved by the Court.

          5.      Pursuant to Rule 23 of the Federal Rules of Civil Procedure, and solely for the

   purposes of effectuating the Settlement, Plaintiffs Brian G. Graifman, and Andrea Hall, on her

   own behalf and on behalf of L.D., a minor, are appointed as class representatives for the Settlement

   Class and Class Counsel are appointed as class counsel for the Settlement Class. These

   designations shall be vacated if the Settlement is terminated or not approved by the Court.

   Ill.   Notice to the Settlement Class

          6.      The Court approves the appointment of Angeion Group, Inc. as Settlement

   Administrator for the Settlement.

          7.      The Court finds the proposed form of Notice to Settlement Class Members of the

   proposed Settlement between Plaintiffs and CareCentrix (“Notice”), the proposed summary form

   of notice (“Summary Notice”), and the proposed methods of dissemination thereof as set forth

   herein, satisfy the requirements under Rule 23 of the Federal Rules of Civil Procedure and due

   process, and therefore are approved.

          8.      Within five (5) days of the date hereot CareCentrix shall gather and provide to the

   Claims Administrator at CareCentrix’s expense and in such form as kept in the regular course of

   business (electronic format if available) the last known names and mailing and/or email addresses

   of Class Members were affected by the AMCA Security Incident.


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           9.      The Settlement Administrator shall cause the Summary Notice, substantially in the

    form attached hereto as Exhibit 1, to be disseminated no later than forty-five (45) calendar days

    following the date of the entry of this Order (the “Notice Deadline”) via first class mail, postage

   prepaid to each potential Settlement Class Member who is readily and reasonably identified.

           10.     On or before the Notice Date, the Settlement Administrator create a website for the

    Settlement using the domain name AMCADataSettlement-CCX.com (the “Settlement Website”)

   and establish a settlement-specific toll-free telephone number.

           11.     The Settlement Administrator shall cause the Notice, substantially in the form

   attached hereto as Exhibit 2, and the Claim Form, substantially in the form attached hereto as

   Exhibit 3, to be posted on the Settlement Wcbsite as soon as practicable after the Notice Date.

           12.     On or before the Notice Date, the Settlement Administrator shall establish a post

   office box where Settlement Class Members can send completed Claim Forms, requests for

   exclusion, and other correspondence relating to the Settlement.

   IV.    Schedule and Procedure for Reguestin2 Exclusion and Submitting Objections

           13.     The deadline for Settlement Class Members to request exclusion from the

   Settlement Class shall be sixty (60) days after the Notice Deadline.

           14.     As set forth in the Notice, in order to request exclusion, a Settlement Class Member

   must email or mail a written request to the following address:

                                 CareCentrix Settlement Administrator
                                           Ann: Exclusions
                                           P.O. Box 58220
                                       Philadelphia, PA 19102

           15.     The written request for exclusion must include the following information: (i) a

   statement indicating the Settlement Class Member’s desire to be excluded from the CareCentrix

   Settlement Class in In Re: American Medical Collection Agency, Inc. Customer Data Security



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   Breach Litigation, Civil Action l9-md-2904 (MCA)(MAH); (ii) the Settlement Class Member’s

   full name, address, telephone number, and personal signature,

           16.     The request for exclusion shall not be effective unless it provides the required

   infonTlation and is made within the time stated above or the request for exclusion is otherwise

   accepted by the Court. Persons or entities that request exclusion from the Settlement Class shall

   not be entitled to share in the benefits of the Settlement, nor be bound by any judgment whether

   favorable or adverse.

           17.    The Settlement Administrator shall keep track of any and all requests for exclusion.

           18.    On or before seven (7) days after the Op-Out Deadline, the Claims Administrator

   shall provide to Class Counsel a report that summarizes the number of written notifications of

   exclusion received that week, the total number of written notifications of exclusion received to

   date, and other pertinent information as requested by Counsel.

           19.    Prior to the Final Approval Hearing, the Claims Administrator shall provide a

   sworn declaration that: (i) attests to implementation of the Notice Plan in accordance with the

   Preliminary Approval Order; and (ii) identifies each Settlement Class Member who timely and

   properly provided written notification of exclusion from the Settlement Class;

          20.     Settlement Class Members who wish to object or otherwise be heard with respect

   to the Settlement, and to appear in person at the Fairness Hearing, must first file a written objection

   with the Court on or before sixty (60) days after the Notice Deadline. The objection must include:

   (i) the case caption, In Re: American Medical Collection Agency, Inc. Customer Data Security

   Breach Litigation, Civil Action 19-md-2904 (MCA)O AH): (ii) the objector’s flill name, current

   address, personal signature and a statement of the grounds for the objection. If the objector is

   represented by an attorney, the objection must also set forth the identity of the attorney and the

   attorney’s signature.


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          21.       Any objections to the Settlement must also be sent to:

    James E. Ceechi                                      Lane W. Davis, Esq.
    CARELLA, BYRNE, CECCHI, OLSTEIN,                     NELSON MULLINS RILEY &
    BRODY & AGNELLO, P.C.                                SCARBOROUGH, LLP
    5 Becker Farm Rd.                                    2 West Washington Street, Suite 400
    Roseland, NJ 07068                                   Greenville, SC 29601
    Tel. 973-994-1700
                                                         Attorneys for CareCentrix
    Joseph J. DePalma
    LITE DEPALMA GREENBERG LLC
    570 Broad Street, Suite 1201
    Newark, New Jersey 07102
    (973) 623-3000

    Amy R. Keller
    DiCELLO LEVITT LLC
    Ten North Dearborn Street
    Sixth Floor
    Chicago, Illinois 60602

    Class Counsel

          22.     Any Settlement Class Member who does not make their objection in the manner

   provided above shall be deemed to have waived their right to object to any aspect of the Settlement,

   the Plan of Distribution, and Class Counsel’s requests for attorneys’ fees, reimbursement of

   expenses and Case Contribution Awards Class Plaintiffs and shall be forever barred and foreclosed

   from objecting to the fairness, reasonableness or adequacy of the Settlement, the Plan of

   Distribution or the requested attorneys’ fees and expenses, or from otherwise being heard

   concerning the Settlement, the Plan of Distribution or the requested attorneys’ fees and expenses

   in this or any other proceeding.

   V.     Schedule and Manner for Snbmittin2 Claim Forms

          23.     Settlement Class Members who wish to participate in the Settlement and be eligible

   to receive a payment from the Settlement Fund must complete and submit a Claim Form in

   accordance with the instructions contained therein. Unless the Court orders otherwise, all Claim



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    Forms must be postmarked (if mailed) and received (ifsubmitted online) no later than one hundred

    eighty (180) days after the Notice Deadline. Notwithstanding the foregoing. Class Counsel may.

    at its discretion, accept for processing late Claim Forms provided such acceptance does   not   delay

    the distribution of the Settlement Fund. By submitting a Claim Form, a person or entity shall be

    deemed to have submitted to the jurisdiction of the Court with respect to his. her or its cLaim and

    the subject matter of the Settlement.

           24.     Each Claim Form submitted must contain the infonnation set forth the Claim Form

   to satisfy the conditions for claiming Out-of-Pocket Losses, Alternative Compensation Additional

   California Settlement Class Member Compensation. and whether they wish to enroll in Monitoring

   and Assisted Restoration Services. All claim forms: (a) must be properly completed, signed and

   submitted in a timely manner; and (b) if the person executing the Claim Form is acting in a

   representative capacity, a certification of his, her or its current authority to act on behalf of the

   Class Member must be included in the Claim Form to the satisfaction of Class Counsel or the

   Settlement Administrator; and (e) the Claim Form must be complete and contain no material

   deletions or modifications of any of the printed matter contained therein and must be signed under

   penalty of perjury.

           25.     Any eligible Settlement Class Member that does not timely and validly submit a

   Claim Form or whose claim is not othenvise approved byhe Court: (a) shall be deemed to have

   waived their right to share in the Settlement Fund: (h) shall be forever barred from participating in

   any distributions therefrom: (c) shall be bound by the provisions of the Settlement Agreement and

   the Settlement and all proceedings. determinations, orders and judgments in the Action relating

   thereto, including, without limitation, the judgment and the releases provided for therein, whether

   favorable or unfavorable to the Settlement Class: and Cd) will be barred from commencing,




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    maintaining or prosecuting any of the Released Claims against CareCentrix, as moic fully

    described in the Settlement Agreement and Notice.

    VI.     The Court’s Final Approval Schedule and Fairness Hearing Date

            26.     All briefs and materials in support of Class Counsel’s fee and expense application,

    and any application for Case Contribution Awards to Class Plaintiffs, shall be flied with the Court

    no later than twenty-one (21) days before the Objection Deadline. The applications described in

    this paragraph shall promptly be posted on the Settlement Website, and shall be considered as

    separate and apart from the Court’s consideration of the fairness, reasonableness, and adequacy of

    the Settlement. All briefs and materials in stipport of final approval of the Settlement also shall be

    filed with the Court no later than twenty-one (21) days before the Objection Deadline.

           27.     All reply submissions, including any responses to any objections by Settlement

    Class Members, shall be filed with the Court no later than seven (7) calendar days prior to the date

    of the Fairness Hearing.

           28.          A hearing on final approval of the Settlement (“Fairness Hearing”) shall be held

    before this Court on 6Q+e\oera, 2023 at                 3 Ct)   p.m. in the Courtroom assigned to the

    Honorable Madeline Cox Arleo. IJ.S.D           at the LTnited States District Court for the District of

    New Jersey, Martin Luther King Federal Building. 50 Walnut Street. Newark, NJ 07102. At the

    Fairness Hearing, the Court will, among other things. consider:

                   a.         final certification of the Settlement Class for purposes of effectuating the
                              Settlement with CareCentrix:

                   h.        the fairness, reasonableness and adequacy of the Settlement with
                             CareCentrix and whether the Settlement should be finally approved and
                             consummated according to its terms:

                   c.        whether the Court should approve the proposed Plan for Distribution of the
                             Settlement Fund (i.e.. net of the costs of settlement administration and
                             notice and any Court-awarded attorneys’ fees, expenses and Case
                             Contribution Awards) to eligible Settlement Class Members;


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                    d.      whether notice of the Settlement constirutes due, adequate and sufficient
                            notice of the Settlement meeting the requirements of due process and thc
                            Federal Rules of Civil Procedure:

                    c.      whether the Action shall he dismissed with prejudice as to CareCentrix

                    f.     whether the release of any and all Released Claims with respect to
                           CareCentrix shall be deemed effective as of Final Judgment:

                    g.     whether thc Releasing Parties are permanently enjoined and barred from
                           instituting, commencing, or prosecuting any action or other procceding
                           asserting any Released Claims against CareCentrix;

                    h.     whether the Court retains continuing and exclusive jurisdiction over the
                           Settlement for all purposes, including its administration and execution and
                           disputes that may arise concerning CareCentrix; and

                    i.     whether, under Federal Rule 54(b), there is any just reason for delay and
                           whether an order of dismissal as CareCentrix shall be final and appealable
                           and entered forthwith.

            29.    The Fairness Hearing may be rescheduled or continued; in this event, the Court will

    furnish all counsel with appropriate notice. Class Counsel shall be responsible for communicating

    any such notice promptly to the Settlement Class by posting conspicuous notice on the Settlcment

    Websi te.

            30.    In the event that the Settlement does not become final, then, subject to approval of

    the Court. litigation of the Action against CareCentrix will resume in a reasonable manner to be

    approved by the Court upon joint application by the Parties.

           31.     If the Court does not grant final approval of the Settlement or the Settlement is

    terminated in accordance with the applicable pros isions of the Settlement Agreement, the

    Settlement shall be deemed null and void and shall have no further force and effect. and neither

    the Settlement nor the negotiations leading to it shall be used or referred to by any person or entity

    in this or in any other action or proceeding for any purpose.




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            32.    Neither this Order nor the Settlement Agreement nor any Settlement-related

     document nor any proceeding undertaken in accordance with the terms set forth in the Settlement

    Agreement or in any other Settlement-related documents, shall constitute, be construed as or he

    deemed to be an admission or evidence of any violation of any statute or law or of any liability or

    wrongdoing by CareCentrix. or likewise. constitute, be construed as or be deemed to he an

    admission or evidence of or presumption against Class Plaintiffs or any other Settlement Class

    Member that any of their claims are without merit or infirm, that a class should not be certitied. or

    that recoverable damages against the CareCentrix would not have exceeded the Settlement Funds.




                                                          MADELINE COX ARLEO. U.S.D.J.




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                              Exhibit 1
                                            Setilement
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  LEGAL NOTICE                    1650 Ath Street. Suite 2210
ONLY TO BE OPENED                 P’iadeloh,a,PA19103
 BYTHE INTENDED    I
    RECIPIENT


    A federal court has            ((ScanString>>
   authorized this Notice.         Postal Service Please do not mark barcode.


This is not a solicitation from
          a lawyer.
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                                   <<CountryCd>>
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Notice ID: <<Notice ID           ***THIs IS NOT A CLAIM FORM***


                                PERSONAL TNFORMATION UPDATE FORM


To noti’ the Settlement Administrator of any change in your contact information, you may fill out this sectiQn
and return it to the Settlement Administrator by maiL This is not a Claim Form. To submit a claim lorm, visit

First Name                                          Ml      _ast Name
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Phone Number
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ios included in the Settlement Class? Tre Ser.’e”en: C’ass i’icljdes a I irthqduals :.r wtn Ca-eCertbx coc’rated hea :nca-e benefits in
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Miat are the Settlement Benefits? tIde’ the Setleinent, CareCe-ntrs w: kind a i’n-revasIc—ary a [e-Ier.: turd of $63 rid.icr, cc fund
Reimbursement for Dut.ot-Pocket Losses. Monitoring and Assisted Restoration Services, Alternative Compensation, Administrative Costs and
Motice Costs, Service Awards, and Attorneys’ Fees and Expenses Two types of claims may be made (1) Out’ot-Pocket Losses from verifiable
unreimbursed costs or expenditures that Settlement Class Member actually incurred and that are tairly and reasonably traceable to the AMCA
Security Incident up to $5,000. or 2) Alternative Compensation which provides for a $53 per class members payments, bolh subject to pro rata
increases or decreases dependent on the number of claims filed. A Settlement Class Member may also elect to receive monitohng and assisted
restoration services br at least 3 years to, both personal information and medical information by Idenfity Guard Additionally, California Settlement
Class Members are eligible for an additional paymenl of $50, subject to a pro rala increase or decreases, depending on the number of claims filed.
How do I Submit a Claim Form for Benefits? You must submit a Claim Form, avaitabte at                   to be eligible to receive a Settlement
benefit, Your completed Claim Form must be submitted online or mailed to the Settlement Administrator, postmarked by
What are my other options? If you Do Nothing, you will be legally bound by the terms of the Settlement, and you will release your claims against
the Released Parties, including CareCentrix. You may Opt•Out of or Object 10 the Settlement by            The full Notice available at Settlement
Websile,                . explains how to Opt’Cul of or Object to Ihe Settlement.



Do I have a Lawyer in this Case? Yes, the Court appointed the law firms Carella, Byrne, Ceccbi, Qistein, Brody & Agnello, P.C.; Lite DePalma
Greenberg & Afanadcr, LLC; DiCello Levitt, LLC; and Hausteld LLP (collectively, ‘Class Ccunsel.”) to represent you and other members of the
Settlement Class, You will not be charged directly for these law’yers; instead, they will receive compensation from the Settlement Fund (subject to
Court approval), If you want to be represented by your own lawyer, you may hire one at your cwn expense.
                                                                                                                                                       Case 2:19-md-02904-MCA-MAH Document 535 Filed 06/20/23 Page 15 of 33 PageID: 10006
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                              Exhibit 2
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                                              UNITED STATES DISTRICT COURT
                                             FOR THE DISTRICT OF NEW JERSEY

         If you vere an individual for whom CareCentrix, Inc. coordinated benefits and whose Personally
        Identifiable Information and/or Personal Health Information was potentially at risk as a result of a
         data security incident that was announced on July 10, 2019, you may be entitled to compensation
                                           from a class action settlement.
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                     Your   legal rights are ufjected whether joy act or do not act. Read this .ouce careful/v.
    •      A settlement has been reached to resolve a class action lawsuit against CareCentrix, Inc. (‘CareCentrix” or
           “Defendani’) brought by individuals for whom CareCentrix coordinated healthcare benefits (“Benefit
           Recipients”) and whose personal identifring information anthor personal health information may have been
           compromised as a result of a data breach at Retrieval-Masters Creditors Bureau. Inc. (d;b’a American Medical
           Collection Agency (“AMCA”)) which was announced on July 10, 2019. affecting approximately 420,000
           individuals (the “AMCA Security Incident”).
    •      In the consolidated lawsuits referred to as In ic. American Alec/lea! Collection Agetici I,ic (‘ustoniet’ Data
           Secto’itj’ Breach Litigation (4/I Actions Against CareCent,’ix (Other Labs    Tt’ackj), Civil Action No. I 9-nid-2904.
           Plaintiffs asserted claims on behalf ofa class of individuals related to the AMCA Security Incident. These claims
           included alleged negligence, negligence per Se, breach of confidence, invasion of privacy              intrusion upon      —




           seclusion, unjust enrichment, violation of Connecticut Unfair Trade Practices Act, breach of security regarding
           computerized data, violations of New York Consumer Law for Deceptive Acts and Violation of New York’s data
           breach laws concerning delayed notification.

    •      As part of the settlement and subject to the terms set forth below, CareCentrix has agreed to pay $6.3 million to
           class members and to cease collection efforts with respect to any unresolved amounts due and owing by class
           members to CareCentrix. Class Members can receive two types of compensation: (1) Class Members will have
           the option of being reimbursed for verifiable expenses associated with the AMCA Security Incident up to a total
           of $5,000; or (2) In lieu of submitting a claim for verifiable out-of-pocket expenses, Class Members can subittit
           a claim for Alternative Compensation of up to $50. In addition, Class Members can enroll for up to three years
           of credit monitoring services which would also be paid out of the settlement find. Settlement Class members
           residing in California are entitled to an additional $50.

    •      Class Counsel carl apply to the Court for up to 33 1/3% of the Settlement for attorneys’ fees and reimbursement
           of out-of-pocket costs and expenses. Additionally, Class Counsel can seek payment ofup to $5,000 to each class
           representative Plaintiff as a Case Contribution Award.

                              YOUR LEGAL RIGHTS AND OPTIONS IN THIS SETTLEMENT

        SUBMIT A CLAIM FORM                         If eligible, you will receive a cash payment. You are also cligible to claim
                                                    and enroll in up to 3 ears of Moruoring Ser’ices for both personal
        BY: IDEADLINEI
                                                    in formation and mcdi cal in thriiatiou -

        EXCLUDE YOURSELF                            If you ask to he excluded, you will not receive compensation. hut you may
        FROM THE SETTLEMENT                         be able to file your own lawsuit against CareCentrix for claims arising out uf
        BY: [DEADLINE]                          ‘   or related to the AM( A Security Incident. This is the only option that
                                                    leaves you the right to file ‘our own lawsuit against CareCentrix (defined iii
                                                    the Settlement Agreement) for the claitr.s that are being resolved by the
                                                    Settlement.

        OBJECT TO THE                               You can remain in the Settlement (‘lass and file an objection telling thc
        SETTLEMETN BY:                              Court why you do not like the Settlement, Ifyour objections are overniled.
        [DEADLINEJ                                  you will be bound by the Settlement and unable to file your own lawsuit.


                            Questions? Call 1-XXX-XXX-XXXX toll free, or visit jWebsitej
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         DO NOTHING                            If you do nothing, you ‘viii not receive any compensalion. If you do nothing.
                                               you will also forfeit your right to sue or bring any claim against CareCentrix
                                               arising out ofor related to the AMCA Security Incident.


    •      These rights and options—and the deadlines to exercise them—are explained in this Notice.

    •      The Court in charge of this case still has to decide whether to approve the Settlement. Compensation will he
           made if the Court approves the Settlement and after any appeals are resolved. Please he patient.




        Basic Information                                                                                          Page 3
           I.   \Vhy did I get this Notice paciae?
           2.   What is this lawsuit about?
           3.   Why is this a class action?
           4.   Why is there a settlement?

        Who is Part of the Settlement                                                                              Page 4
           5.   How do I know if I am pan of the settlement?
           6,   Are there exceptions to being included?
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        The Settlement Benefits                                                                                    Page 4
           8.   What does the settlement provide?
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        How To Get Compensated            —   Submitting a Claim Form                                              Page 5
           10. How cat: I get compensated?
           II. When would I receive my compensation?
           12. What am I giving up to receive compensation or remain in the Settlement CIas?

    Excluding Yourself from the Settlement                                                                         Page 7
           13. I low can I opt out of the settlement?
           14. 1ff dont opt out, can I sue CareCentrix for the same thing later?
           15. If I excludes myself, can I get compensation from (his settlement.’

    The Lawyers and Financial Institutions Representing You                                                        Page 7
           16. Do I have a lawyer in the case?
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    Objecting to the Settlement                                                                                    Page 8
           18. I low do I tell the Court that I do not like the settlement?
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    The Court’s Final Approval Hearing                                                                             Page 9
           20. When and where will the Court decide whether to approve the settlement’?
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                           Questions? Call 1-XXX-XXX-XXXX toll free, or visit IWebsitel

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     If You Do Nothing        .                                                                                     Page 10
         22. What happens if I do nothing at all?

     Getting More Information                                                                                       Page 10
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                                                 BASIC INFORMATION




    You may be a Benefit Recipient in the United States whose Personally Identifiable Information (P11”) was alleged
    as potentially exfiltrated between August 1.2018 through March 30. 2019 in the AMCA Security Incident.

    The Court in charge of the case is the U.S. District Court for New Jersey, and the lawsuit is known as In Fe: American
    Medical Collection Agency, Inc. Customer Data Security Breach Litigation (All Actions Against CareCentrty (Other
    Labs Track)): Civil Action No. 19-md-2904.

    The Court authorized this Notice because you are entitled to know about your rights under a proposed class action
    settlement with CareCentrix before the Court decides whether to approve the Settlement. If the Court approves the
    Settlement, and after objections and appeals are resolved, a Settlement Administrator appointed by the Court will
    make the cash payments. and distribute access codes for credit monitoring and assisted restoration services, that the
    Settlement allows.

    This Notice package explains the lawsuits, the Settlement, your rights, what benefits are available. who is eligible for
    them, and how to get them.




    The class action lawsuit, referred to as In ye: Ame,’ican Medical Collection Agency, Inc. Customer Data Security
    Breach Litigation (All Actions Against CareCentrix (Other Labs 7*aclQ,): Civil Action No. I 9-md-2904 (D.N.J.), is
    related to the AMCA Security Incident and assert claims against CareCentrix for alleged negligence, negligence per
    Se, breach of confidence, invasion of privacy intmsion upon seclusion, unjust enrichment, violation of Connecticut
                                                    —




    Unfair Trade Practices Act, breach of security regarding computerized data, violations of New York Consumer Law
    for Deceptive Acts and Violation of New York’s data breach laws concerning delayed notification The Settlement
    Class Representatives (on behalf of themselves and the class) seek to recover damages for out of pocket losses and
    tnonitoring and assisted restoration reservices related to the AMCA Security Incident. CareCentrix denies the
    allegations, any wrongdoing, and any liability to Plaintiffs. The Court has not decided whether CareCentrix has any
    legal liability.



    In a class action. one or more individuals or entities called ‘class representatives” sue on behalf of themselves and
    other individuals or entities with similar claims. All of these individuals or entities together are the ‘‘class’’ or ‘‘class
    members.” One court resolves the issues for all class members, except for those who exclude themselves from the
    settlement class.




    The Court has not decided in favor of Plaintiffs or CarcCentriy, Instead, both sides agreed to the Settlement. The
    Settlement is not an admission that CareCentrix did something wrong. but rather a compromise to end the lawsuits.
    By agreeing to settle, both sides avoid the costs, risks, and uncertainties of a trial and related appeals, while providing



                          Questions? Call 1-XXX-XXX-X.XXX toll free, or visit IWebsitel

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     benefits to members of the Settlement Class. The Settlement Class Representatives and the attorneys for the
     Settlement Class think the Settlement is best for all class members.

                                      WHO IS PART OF THE SETTLEMENT




     You are a member of the Settlement Class and affected by the Settlement if:

          •   You are a Benefit Recipient in the United States whose Personally Identifiable Information (“PIE) was
              alleged as potentially exfiltrated between August 1,2018 through March 30,2019 it’ the AMCA Security
              Incident. The following entities and individuals are excluded from the definitions of”Settlenient Class
              Members” or ‘Class Members”:

                        CareCentrix:
                        Any entity in which CareCentrix has a controlling interest;
                   •    Any parent or subsidiary of CareCer.trix:
                   •    Any entity that is controlled by CareCentrix:
                   •    The officers, directors, affiliates, legal representatives, heirs, predecessors, successors, and assigns
                        of CareCentrix:
                   •    All judges and court personnel involved in this Action, along with their immediate family
                        members.



     If you exclude yourself from the Settlement. you are no longer part of the Settlenicnt Class and will no longer be
     eligible to receive any of the Settlement benefits. This process of excluding yourself is also referred to as ‘opting out”
     of the Settlemcnt. See Question 13 below.




    If you are still not sure whether you are ircluded. you can ask for free help. You can call 1-XXX-XXX-XXXX or
    visit [websitel for more information. Orvou can fill nut and return the Claim Form described in Question 10 to see if
    voti qualify.

                                           THE SETTLEMENT BENEFITS




    Under the Settlement, CareCentrix will create a non-reversionary settlement fluid of $6.3 million to ftnd all aspects
    of the Settlement, including Reimbursement for Out-of-Pocket Losses, Monitoring and Assisted Restoration Services,
    Alternative Compensation, Administrative Costs and Notice Costs, Service Awards, and Attorneys’ Fees and
    Expenses.

    Two types of claims may be made: (1) Out-of-Pocket Losses from verifiable unreimbursed costs or expenditures thai
    Settlemeni Class Member actually incurred and that are fairly and reasonably traceable to the AMCA Security Incident
    up to $5,000; or (2) Alternative Compensation which provides for a $50 per class members payments, both subject to
    pro rata increases or decreases dependent on the number of claims filed. A Settlement Class Member may also elect
    to receive monitoring and assisted restoration services for up to 3 years for both persona] information and medical
    information by Identity Guard. Additionally, California Settlement Class Members are eligible for an additional
    payment of $50, subject to a pro rata increase or decreases, depending on the number of claims filed.




                          Questions? Call 1-XXX-XXX-XXXX toll free, or visit IWebsitel

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    Finally, Class Counsel will apply to the Court for an Order awarding attorneys’ fees and expense reimbursements not
    to exceed one-third (33 1/3%) of the Settlement Fund, and Class Settlement Representative Service Avards of up to
    $5,000 to each Settlement Class Representative.

    Lt : CIflfl   ii IN iTl I.   kg thi”



    if you are a Benefit Recipient CareCentrix customer in the United States whose Personally Identifiable Information
    (“PIT”) was alleged as potentially exfiltrated between August 1,2018 through March 30, 2019 in the AMCA Security
    Incident, and do not “opt out” of the Settlement, you may be eligible for a payment under the Settlement. If you file a
    timely and valid Claim, the amount you receive will depend on the type of Claim(s) filed and other variables. The two
    types of Claims are described below:

         •   Claims for Out-of-Pocket Losses: These are verifiable unreimbursed costs or expenditures that a Settlement
             Class Member actually incurred and that are fairly and reasonably traceable to the AMCA Security Incident.
             Settlement Class Members may file a claim for up to $5,000 in Out-of-Pocket Losses, subject to increases or
             decreases pro rata depending upon the number of claims filed. Out-of-Pocket Losses may include, without
             limitation, the following:
                              i. unreimbursed costs, expenses, losses or charges incurred a result of identity theft or
                                  identity fraud, medical fraud, or other alleged misuse of Settlement Class Members’
                                  personal information;
                             ii. professional service costs—such as la\v firms or credit repair services—related to misuse
                                  of Settlement Class Members’ personal information;
                            iii. miscellaneous expenses incurred related to any Out-Of-Pocket Loss such as notary, fax,
                                 postage, copying, mileage, and long-distance telephone charges;
                            iv. credit monitoring costs that were incurred on or after June I, 2019, through the date of the
                                  Settlement Class Member’s claim submission;
                             v. up to 10 total hours for verified and documented time spent taking Preventative Measures
                                 and time spent remedying fraud, identity theft, or other misuse of a Settlement Class
                                 Member’s personal information that is fairly traceable to the AMCA Security Incident at
                                 $25 per hour.

        •    Alternative Compensation: In lieu of seeking Out-of-Pocket Losses, Settlement Class Members may
             submit a claim for Alternative Compensation, which shall be up to $50 per Settlement Class Member, subject
             to pro rata increases or decreases, depending on the number of claims filed.

        •    Monitoring and Assisted Restoration Services. In addition to Out-of-Pocket Losses or Alternative
             Compensation, Settlement Class Members will be eligible to claim and enroll in up to 3 years of Monitoring
             Services, which shall include and shall be delivered consistent with the standards set forth in Exhibit 1 of the
             Settlement Agreement. for both personal information and medical information. These services will be
             provided by Identity Guard, which will be appointed by the Court as the provider of Monitoring Services and
             be subject to the Court’s jurisdiction for enforcement of the terms of this Settlement.

        •    Additional Califomia Settlement Class Member Compensation. Regardless of whether a Settlement Class
             Member submits a claim for Alternative Compensation or Out-of-Pocket Losses, and/or Monitoring and
             Assisted Restoration Services, if the Settlement Class Member resided in the State of California between
             August 1,2018, and March 30, 2019, then that Settlement Class Member will also be eligible for an additional
             payment of $50, subject to pro rata increases and decreases, depending on the number of claims filed.


    To ensure adequate compensation, 1/3 of the Net Settlement Fund will be used to compensate Settlement Class
    Members’ Claims for Alternative Compensation and Additional California Settlement Class Member Compensation.
    To the extent the aggregate amounts required to fund the settlement provisions for Out-of-Pocket Losses, Alternative
    Compensation, and Additional California Settlement Class Member Compensation listed above exceed the amount of
    the Net Settlement Fund remaining after distributions are made to fund Monitoring and Assisted Restoration Services,



                           Questions? Call 1-XXX-XX.X-XXXX toll free, or visit jWebsitej

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    the cash payments provided in these provisions shall be reduced on apro iota basis, meaning cash payments shall he
    allocated based on each claimant’s proportional share of the remainder of the Settlement Fund.
    If any remaining funds in the Net Settlement Fund remain aftcr payments for Out-of-Pocket Losses and Monitoring
    and Assisted Restoration Sen ices. then the amount of money paid to Settlemer.t Class Members for Alternative
    Compensation and Additional California Settlement Class Member Compensation will be increased until their pro
    rata allotment equals 100% of each Settlement Class Members Claim. Thereafter, the remaining finds will be split
    proportionally among Settlement Class Members related to the amount of their valid Claim.
    Non-Pursuit of Outstanding or Unresolved Charges. Within ten (10) days of the Settlement Agreement’s Effective
    Date, CareCentrix agrees to cease pursuit of any amotints due and owing or othenvise unresolved at the time of the
    final approval of the Parties’ Settlement Aareement which were referredto AMCA by CareCentrix priorto the AMCA
    Security Incident that is the subject of the litigation captioned In ic .1m. lied Collection. lgenct. itic. (usroiner Data
    Sec B,’eaeh Litig.. Civil Action No. 19-md -2904 (MCA)(\IAFI), pending in the United States District Court for the
    District of New Jersey (hereinafter ‘Unpaid Amounts”). CareCentrix shall also inforni its debt collection agencies,
    third parties, or servicers that any ongoing efforts to pursue Unpaid Amounts for Participating Class Members shall
    cease. At no point in the future shall CareCentrix or any of its servicers, contractors, subsidiaries, parents, successors,
    or assigns pursue collection of the Unpaid Amounts by individuals whose accounts were impacted by the AMCA
    Security Incident. Notwithstanding the foregoing, nothing shall impact CareCentrix’s ability to pursue debts or unpaid
    balances owed to it that were not subject to the AMCA Security Incident. None of the Settlement Fund shall be used
    to fund this provision of the Settlement.

                     HOW TO GET A PAYMENT                    -   SUBMITTING A CLAIM FORM




    To qualit5 for a payment, you must complete and submit a valid Claim Form available the at IWehsitel. You may also
    request that a Claim Form be mailed to you by calling or emailing the Settlement Adminktrator. All Settlement Class
    Members that wish to receive compensation must comalete and submtt a Claim Form and follow its instnictions.
    including stibmitting sunorting doctmientation as needed.

    To properly’ complete and timely submit a Claim Form. you should read the instructions carefully, include all
    information reqtnred b’ the Claim Form, sign it. and either submit the signed Claim f:or:il clectronicallv through
     website] by          2023 or mail it to the Settlement Aduiinistiator postmarked no later than
                           ,
                                                                                                           2023 at the
                                                                                                                 ,




    following address:
                                          CareCentrix Settlement Administrator
                                                ln5O Arch Street. Suite 22 tO
                                                   Philadelphia. PA 19103

    The Settlement Administrator will review your claim to determine its validity and the amount of your payment.




    The Court will hold a heating on                           at       a.m./p.tn., at the U.S. District Court of New Jersey,
    Martin Luther King Building & U.S. Courthouse, 50 Walnut Street, Newark, NJ 07102, to decide tvhether to approve
    the Settlement (the ‘‘Final Appro al Ilearing’’). If the Court approves the Settlement. there may he appeals. Payments
    to Settlement Class Members will be made after the Settlement is finally approved and any appeals or other required
    proceedings have been complcted as set forth in the Settlement Agreement. You may visit [Website] for updates on
    the prog:ess of the Settlement. Please be patient.

     12 What am I gnlng up to receise a pament or remain in the Settlement Class’


    Unless you exclude yourself from the Settlement, you cannot sue or be part of any other lawsuit against CareCentrix
    arising out of or relating to the AMCA Security Incident. The specific claims you are giving up against Defendant



                          Questions? Call I-XXX-XXX-XXXX toll free, or visit [Websitej

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     are described in the Settlement Agreement. The tenim of ihe release are tlescribed in Section           of the Settlement
     Agreement. Read it carefully. The Settlement Agreement is available at [Website].

     If you have any’ questions, you can talk to the law firms listed in Question 16 for free, or you can. of course, talk to
     your own lawyer if you have questions about what thi means

     If you want to keep your right to sue or continue to sue CareCentrix based on claims this Settlement resolves, you
     must take steps to exclude yourself from the Settlement (‘lass t ee Questions l3—15t.

                           EXCLUDING YOURSELF FROM THE SETTLEMENT



     To exclude yourself front tlte Settlement, or ‘opt out,’ you must send a letter by first-class postage prepaid U.S. mail
     that includes the information in the bullet points below. If ou fail to include this itiformatiott, the notice ofexciusiori
     will be ineffective and the Settlement Class Member will be bound by the Settlement, incltiding all releases.

          •        The name of this Litigation (in re: American Medical Collection Agency inc. Customer Data Security
                   8,-each Litigation (All Actions Against CareCent,’ix (Other Labs Tt’ack), Civil Action No. 19-md-2904
                   (D.N.J3);

          •        The Settlement Class Member’s full name, address, and phone number;

           •       The words “Request for Exclusion” at the top of the document or a statement in thehody of the docttment
                   reqitesting exclusion from the Settlement; and

          •        The Settlement Class Members persottal signature (or the original sigitature of a person pre’ iousiv
                   authorized by law. stich as a trustee, guardian. or person acting under a power of attorney to act or, behalf
                   of the Settlement Class Member with respect to a clattn or right, such as those tt the Lawsuit).

    You must mail via ftust-class postage prepaid U.S. mail the completed above-described letter, postmarked no later
    than                          2023. to the Settlement Administrator at:
                                   .




                                              CareCentrix Settlement ACtninistrator
                                                        Attn: Exclusions
                                                        P.O. Box 55220
                                                    Philadelphia, PA 19102

    Alternatively, you may’ submit your request for exclusion online at                             ‘Ihe deadline to submit a
    request for exclusion is                        2023.

    If you ask to be excluded, you will not get any payment as part of this Settlement, and you cannot object to this
    Settlement. You will not he legally bound by anything that happens in the Settlement and related proceedings. You
    may be able to sue (or cotitinue to sue) Cat’eCentrix in the flttttre. If you object to the Settlement and seek to exclude
    yourself, you will be deemed to have excluded yourself.


     14 If I do&t opt out, caal sue CareCentrk for the same thing later9

    No. L’nless you exclude yourself from the Settlement, you give up any rtght to sue CareCentris for claims at’isitig out
    of or related to the AMCA Security Incident. If you have a pending lawsuit, speak to your lawyer in that case
    itnmediately. Yott must exclude yourself 11am this Settlement to continue yourown lawsuit. Remember, the exclusion
    deadline is

     15 If I excludes myself, dii I get money from this Settlement’



                          Questions? Call 1-XXX-XXX-XXXX toll free, or visit [Websitel

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     No. If you exclude yourself do not send in a Claim Form asking For a payment andor monitoring.

                           THE LAWYERS AND INDIVIDUALS REPRESENTING YOU



     Yes. The Court appointed to reoresent you and other members of the Settlement Class the following law firms Catella.
     Byrne, Cecchi, Olstein. Brody & Agnello, P.C. in Roseland, New Jersey; kite DePalma Greenberg & Afanador. l.lX
     in Newark. New Jersey; DiCello Levitt. LLC in Chicago. Illinois (eollecti’.eh. “Class Counsel.”l; and llansfeld LLP
     in Washington. DC. Yoti will not be charged directly for these lau)ers: instead, they will receive compensation from
     the Settlement Fund (subject to Court approval), as described hclou If yoti want to be represented by your own
                                                                               .




     lawyer, you may hire one at your own expense.

      17 How will the lawyers and individuals representing the Seit1enientCJai he paid’                        j—J         “j
     Class Counsel joined with other law tints around the country to initiate the class action lawsuits, consolidate them
     into a single action, and prosecute the action for the (‘lass Representati’ es and Settlement Class Members. Class
     (‘otinsel worked on a contingent basis, which means that tile)’ receive a fee only if the lawsuits are successful. None
     of the lawyers has yet i’eceived any payment for their time or expcnses. The lawyers intend to ask the Cowl to approve
     an award of’ no more than 33 1/3% of the Settlement Fund for fees to compensate them for their time, the financial
     risk that they’ undertook, and reimbursement of all litigatiotl expenses incurred.

     The Settlement (lass is represented by Brian C. Graifman and Andrea Hall, who asserts claims on her own behalf and
     on behalf of l..D., a minor (the “Settlement Class Representatives”). In addition to the hcnefits that the Settlement
     Class Representatives will receive as members of the Settlement Class—and subject to the approval of the Court—
     Class Counsel will request that the Settlement Class Representatives each receive Service Awards of no more than
     $5,000 for the efforts that they have expended on behalf of the Settlement (‘lass. The amount of the Service Awards
     approved by the Court will be paid from the Settlement Fund.

    The Court will determine whether to approve the amount of fees and costs and expenses requested by Class Counsel
    and the proposed Service Awards to the Settlement Class Representatives at the Final Approval hearing scltedtiled
    for                             Class Counsel will file an application for fees, expenses, and Service Awards no later
    than [     days before the Opt—out and Objection Deadline]. The application will be available on the Settlement
    Website ([Website]) or von can request a copy by contacting the Settlement Administrator (see Questioti 23).

                                         OBJECTING TO THE SETTLEMENT

     lB How do you tell tJie Court that jul don not like the settlement’                              ..   -
                                                                                                               t’ii

    if oti are a Settlement Class Member, you can object to the Settlement if vott do not think it is fair, reasonable, or
    adequate. You can give reasons why you think the Court should not approve it. The (‘ourt will consider vow vicu 5.
    Ifyoti both object to the Settlement and seek to exclude yourself. yoti will be deemed to have excluded yotirself t/ e
    opted out) and your objection will be deemed null and void.

    Your objection mist ne in writing, and must include:

         •       The name of this Litigation: (In ia. .jnierican ,tledica/ Collection .4genci’. Inc. Customer Data .Secm,rit’.
                 Breach Litigation (4/i .4c,ions .1gcnnst (‘w’eC’entri.r nither Labs Traclo.’, Civil Action No. 19-md-2904
                 (ON.).));

             •   Your lull name, address, email address, and telephone tumber:

             •   An   explanation of the basis for why you ate a Settlement (lass Member:

             •   Whether the objection applies only to you, to a specific subset of the Settlement (‘lass, or to the entire


                             Questions? Call 1-XXX-XXX-XXXX toll free, or visit IWebsitel

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              Settlement Class;

          •   All grounds for the objection stated with specificity. accompanied by    any   legal support for the objection;

          •   The identity of all counsel who represent you. including any former or current counsel who ma’ be cnntlcd
              to compensation for any reason related to the objection to the Settlemtmm Agreement. Class [otmnsel ‘s request
              for attorney’s fees, costs, and expenses. or the application for Service Awards;

          •   The identity of all representatives (including counsel reprecennmtg the objector) who will appear at the Final
              ApproaI Hearing;

          •   A description of all evidence to be presented at the Final Ap;woval I learing in support of the obtection.
              including a list of any witnesses, a summary of the expected testimony from each v, itness, and a copy of any
              documents or other non-oral material to he presented; and

          •   Your signature on the       t   ritten objection.

    Any objection trtust be either filed electronically with the Court or mailed to the Clerk of the Court. Class Counsel,
    and CareCenirix’s counsel at the addresses set forth below, The objection must be electronically filed, or if mailed
    postmarked,   no   Ia   icr   than
                                                         2023.

     Court                                           Class Counsel                     CareCentrix’s counsel
                                                     (you only need to pick one)

     Clerk of the Court                               James Cecchi                     Lane Davis
     U.S. District Court                              CARELLA, BYRNE, CECCI4I,         William Brown
     District of New Jersey                           OLSTEIN, BRODY &                 David Dill
     Martin Luther King Building &                    AGNELLO, P.C.                    NELSON MULLINS RILEY &
     U.S. Courthouse                                  5 Becker Farm Road               Greenville One
     50 Walnut Streer                                 Roseland, NJ 07068               2 W. Washington Street
     Newark, NJ 07102                                                                  Suite 400
                                                      Joseph J. DePalma                Greenville, SC 29601
                                                      LITE DEPALMA GREENBERG
                                                      & AFANADOR. LLC
                                                      1835 Market Street, Suite 2626
                                                      Philadelphia, PA 19103

                                                      Amy F. Keller
                                                      DIC EllA) LF.’ITT. I.l.C
                                                      Ten North Dearborn Street.
                                                      6* Floor
                                                      Chicago. Illinois 60602

                                                      James J. Pizzinisso
                                                      HAUSFELD LLP
                                                      888 l6’ St.. Ste 300
                                                      Washington. DC 20006

    In addition, any Settlement Class Member that objects to the proposed Settlement Agreement may be required to
    appear for deposition regarding the grounds for its objection and must provide along with its objection the dates when
    the objector ‘vill be available to he deposed during the period from when the objection is filed through the date five
    (5) days befote the Final Approval Hearing.




                                  Questions? Call 1-XXX-XXX-XXXX toll free, or visit IWebsitel

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     Objecting is simply telling the Court that you don’t like something about the Settlement. You can object to the benefits
     provided by the Settlement or oilier terms of the Settlement only if you stay in the Settlement Class.        Iscltiding
     yourself or opting our is telling the Court that you don’t want to be included in the Settlement Class. ify—on exclude
     yourseIf you have no basis to object to the Settlement and related releases because the Settlement no longer affects
     you.

                                THE COURT’S FINAL APPROVAL HEARING




    The Courl ‘ill hold a Final Approval I learrng at               2023. in Courtroom 4A before U.S. District Judge
    Madeline Cox Arleo of the U.S District Court for the Drstrict of Nev Jersey. Martin Luther King Build ing & U.S.
    Courthouse. 50 Walnut Street, Newark, NJ 07102. or at such other time. location, and venue as the Court r-nay Order.
    This hearing date and time ma be moved. Please refer to the Settlement \\:ehsitc tiWebsite]) for notice of any
    chan.ees.

    By no later than [         days prior to Opt-out and Objection Deadline], (‘lass Counsel shall file a motitn for final
    approval of the Settlement and a motion for attorneys’ fees, costs, and expenses and for Service Awards. Obtectors,
    if any, shall file any response to (‘lass Counsel’s motions no later than    days prior to the Final Approval Hearing.
    By no later than          days prior to the Final Approval Hearing, responses shall be filed, if any, to any filings by
    objectors, and any replies in support of final approval of the Settlement and/or Class Counsel’s application for
    attorneys’ fees, costs, and expenses and for Service Awards shall be filed.

    At the Final Approval I learing. the Court will consider. among other things. whether the Settlement is fair, reasonable.
    and adequate how much Class (‘onucel will receive as attorneys’ fees and costs and expenses and whether to approve
    Service Awards to the Settlement (‘lass Representatives. If there are uh3ectiois. the Court will consider them. The
    Court will listen to people at the hearing who file in aa’ance a timely notice of their intention to appear (see Question
    18). At or after the Final Approval Hearing, the Court will decide whether to approve the Settlement. There is no
    deadline by uhich the Court must nmke its decision.




    No. Class Counsel will answer questions the Court may have. You are welcome, however, to come at your own
    expense. If you submit an objection, you do not hae to come to the Court to talk about it.As long as you submitted
    your objection timely and in accordance with the requirements for obJecting set out of the Settlement (see Question
    18), the Court will consider it. You may also pay’ your own lawyer to attend, hut it is not necessary.

                                                IF YOU DO NOTHING




    lfyou are a Settlement Class Member and do nothing, you will remain a pan of the Settlement (‘lass but will not get
    any payments or monitoring services from the Settlement. And, unless you exclude yourself, you will not he able to
    sue CareCentrix about claims arising out of or related to the AMCA Security incident being resolved through this
    Settlement ever again. See the Settlement Agreement for more details about the releases.

                                       GETTING MORE INFORMATION



    This Notice summarizes the Settlement, More details are in the Settlement Agreement itself You can get a copy of
    the Settlement Agreement at ([Website]) or from the Settlement Administrator by calling toll-free l-XXX-XXX
    XXXX. You may’ also write to the Settlement Admitustrator via mail or email.


                         Questions? Call l-XXX-XXX-XXXX toll free, or visit jwebsite]

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     Mail: CareCentri’ Settlement Administrator. 1650 Arch Street. Sute 2210, Philadelphia, PA 19103.
     Email: XXXXXX

                    P/ease c/a not contact the Court or CureCentriv nit?;   q;Ie.tio;;c   about the Settletn&’nt,




                        Questions? Call 1-XXX-XXX-XXXX toll free, or visit jWebsitej

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                              Exhibit 3
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                             IN RE: AMERICAN MEDICAL COLLECTION AGENCY, INC.
  Your claim must be            CUSTOMER DATA SECURITY BREACH LITIGATION
  submitted online or
                                    Civil Action No. 19-md-2904 (MCA)(MAH)(MDL 2904)                              CCX
    postmarked by:
     [DEADLINEj
                                                       CLAIM FORM

                                               GENERAL INSTRUCTIONS
Complete this Claim Form if you are a Settlement Class Member and you wish to receive Settlement benefits.

You are a member of the Settlement Class and eligible to submit a Claim Form iE

                   You are an individual for whom CareCentrix, Inc. coordinated healthcare benefits in
                   the United States whose Personally Identifiable Information (“P11”) was alleged as
                   potentially exfiltrated between August 1, 2018 through March 30. 2019 in the AMCA
                   Security Incident.

The following entities and individuals are excluded from the definitions of “Settlement Class Members” or “Class
Members” and are not eligible to receive settlement benefits: CareCentrix. Inc. (“CareCentrix”); any entity in which
CareCentrix has a controlling interest: any- parent or subsidiary of CareCentrix: any entity that is controlled by
CareCentrix; the officers, directors, affiliates, legal representatives, heirs, predecessors. successors, and assigns of
CareCentrix; and all judges and court personnel involved in this Action. along with their immediate family members.

Settlement Class Members may submit a claim form either for: (I) Out of Pocket Losses from verifiable unreimbursed
costs or expendittires that Settlement Class Member actually incurred and that are fairly and reasonably traceable to
the AMCA Security Incident up to $5,000; or (2) Alternative Compensation which provides for a $50 per class
members payments, both subject to pro rata increases or decreases dependent on the number of claims filed.

Settlement Class Members may also elect to receive monitoring and assisted restoration services for up to 3 years for
both personal information and medical information by Identity Guard. Additionally. California Settlement Class
Members are eligible for an additional payment of S50. subject to a pro rata increase or decrease, depending on the
number of claims filed.

If you intend to make a claim for Out-of-Pocket Losses, you will need to submit supporting documentation. Out-of-
Pocket Losses may include, without limitation, the following:

           •   Unreimbursed costs. expenses. losses or chargcs incurred a result of identity theft or identity fraud, medical
               fraud, or other alleged misuse of Settlement Class Members’ personal information;
           •   Professional service costs—such as law firms or credit repair services—related to misuse of Settlement
               Class Members’ personal infoniation;
           •   Miscellaneous expenses incurred related to any Out-Of-Pocket Loss such as notary, fax, postage, copying,
               mileage, and long-distance telephone charges;
           •   Credit monitoring costs that were incurred on or after June 1, 2019, through the date of the Settlement
               Class Member’s claim submission;
           •   Up to 10 total hours for verified and documented time spent taking Preventative Measures and time spent
               remedying fraud, identity theft, or other misuse of a Settlement Class Member’s personal information that
               is fairly traceable to the AMCA Security Incident at $25 per hour,




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                         IN RE: AMERICAN MEDICAL COLLECTION AGENCY, INC.
 Your claim must be
                            CUSTOMER DATA SECURITY BREACH LITIGATION
 submitted online or
                                                                                                         CCX
   postmarked by:               Civil Action No. 19-md-2904 (MCA)(MAH)(MDL 2904)
    jDEADLINEJ
                                                   CLAIM FORM

This Claim Form may be submitted electronically via the Settlement Website at                  or completed and
mailed, including any supporting documentation, to: CareCentrix Settlement Administrator, 1650 Arch Street, Suite
2210, Philadelphia, PA 19103

                I. SETTLEMENT CLASS MEMBER NAME AND CONTACT INFORMATION

Provide your name and contact information below. You must notify the Settlement Administrator if your contact
information changes after you submit this Claim Form.


 ________




              First Name                                                Last Name



              Street Address



                  City                                        State                             Zip Code

_________




            Email Address                                      Telephone Number



  Notice ID Number, if known

                                           II. BENEFIT SELECTION

Select one (1) of the following options:

D      Check this box if you want to receive the Alternative Compensation payment of up to $50. If you select this
       option, proceed to the next section.
OR

LI     Check this box if you want to receive reimbursement for Out-of-Pocket Losses of up to 55,000.*
*You must submit supporting documentation demonstrating that the unreimbursed costs or expenditures that
        you actually incurred are fairly and reasonably traceable to the AMCA Security Incident.
              Complete the chart below describing the supporting documentation you are submitting.
                                 Description ofDocurnentatwn Pro v:de                               Amount
£tarnple: Receipt for credit repair sen’ices                                                         51(10




              QUESTIONS? VISIT WWW.                 .COM OR CALL TOLL-FREE l-XXX-XXX-XXXX
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                                     IN RE: AMERICAN MEDICAL COLLECTION AGENCY, [NC.
    Your claim must be
                                        CUSTOMER DATA SECURITY BREACH LITIGATION
    submitted online or
      postmarked by:                        Civil Action No. I 9-md-2904 (MCA)(MAH)(MDL 2904)                    CCX

       1FDE ADL IN
                                                            CLAIM FORM




                                                                       TOTAL AMOUNT CLAIMED:

                         III. CREDIT MONITORING AND ASSISTED RESTORATION SERVICES

 D           Check this box if you wish to receive up to three (3) years of Monitoring and Assisted Restoration Services
             provided by Identity Guard. You vil1 receive a separate activation code if the Court approves the Settlement
             as final and appeals. if any, are resolved.

                                         IV. CALIFORNIA SETTLEMENT SUBCLASS MEMBERS

 D           Check this box if you resided in the State of California between August 1,2018, and March 30, 2019. and wish
             to be eligible for an additional payment of $50. Enter the California address you lived at between August 1.
             2018, and March 30, 2019, if you no longer reside in California.


                         Street Address


                              City                                  State                         Zip Code

                                                    V. PAYMENT SELECTiON

Please select          of the following payment options. which will be used should you be eligible to receive a settlement
payment:

D    PaPaI Enter your PayPal email address:
                 -




D    Venmo Enter the mobile number associated with your Venmo account:
                 -




D    Zelle   -   Enter the mobile number or email address associated with your Zelle account

Mobile Number:                   -           -           or Email Address:

D   Virtual Prepaid Card Enter your email address:
                                     -




E   Physical Check Payment will be mailed to the address provided above.
                          -




                                                 VI. ATTESTATION & SIGNATURE

I swear and affinn that the information provided in this Claim Form, and any supporting documentation provided is
true and correct to the best of my knowledge. I understand that my claim is subject to verification and that I may be



                     QUESTIONS? VISIT WWW.                   .COM OR CALL TOLL-FREE I-XXX-XXX-XXXX
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                         IN RE: AMERICAN MEDICAL COLLECTION AGENCY, INC.
 Your claim must be
                            CUSTOMER DATA SECURITY BREACH LITIGATION
 submitted online or
                                                                                                    CCX
   postmarked by:             Civil Action No. 19-md-2904 (MCA)(MAH)(MDL 2904)
    IDEADLINEI
                                                CLAIM FORM

asked to provide supplemental information by the Settlement Administrator or Claims Referee before my claim is
considered complete and valid.


             Signature                              Printed Name                             Date




             QUESTIONS? VISIT WWW.               .COM OR CALL TOLL-FREE 1-XXX-XXX-XXXX
